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                 Exhibit 3
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                                                                           Page 1
 1                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS
 2
 3   IN RE:                                    )
                                               )   CA No. 01-12257-PBS
 4   PHARMACEUTICAL INDUSTRY AVERAGE           )
     WHOLESALE PRICE LITIGATION                )   Pages 1 - 38
 5                                             )
 6
 7
 8
                 MOTION HEARING (JOHNSON & JOHNSON)
 9
                   BEFORE THE HONORABLE PATTI B. SARIS
10                    UNITED STATES DISTRICT JUDGE
11
12
13
14
                                      United States District Court
15                                    1 Courthouse Way, Courtroom 19
                                      Boston, Massachusetts
16                                    July 12, 2010, 10:35 a.m.
17
18
19
20
21
22                            LEE A. MARZILLI
                          OFFICIAL COURT REPORTER
23                     United States District Court
                        1 Courthouse Way, Room 7200
24                           Boston, MA 02210
                               (617)345-6787
25
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                                                                    Page 2                                                                       Page 4
1    A P P E A R A N C E S:                                                  1    having an argument on the underlying motions or whether I
2                                                                            2    should wait.
     FOR THE PLAINTIFFS:
3                                                                            3           MS. CONNOLLY: I believe both parties are prepared
        JENNIFER FOUNTAIN CONNOLLY, ESQ., Hagens Berman Sobol                4    today to argue the underlying motions and that we should go
4    Shapiro, LLP, 1629 K Street, NW, Suite 300, Washington, D.C.,           5    ahead doing that because we provided a preliminary proffer from
     20006, for the Class Plaintiffs.
5                                                                            6    counsel when we moved to add the new class rep, Ms. Austed; and
        EDWARD NOTARGIACOMO, ESQ., Hagens Berman Sobol Shapiro,              7    that set forth basically, you know, that she is a Medicare
6    LLP, 55 Cambridge Parkway, Suite 301, Cambridge, Massachusetts,         8    Part B participant, that she had some supplemental insurance,
     02142, for the Class Plaintiffs.
7                                                                            9    but it didn't cover all of her payments, she took Remicade. We
         KENNETH A. WEXLER, ESQ., Wexler Wallace, LLP,                       10   have been in the process of gathering her documents. We did
8    55 West Monroe Street, Suite 3300, Chicago, Illinois, 60603,            11   see your electronic order this morning giving us a deadline to
     for the Class Plaintiffs.
                                                                             12   provide those, and we do intend to give them over to the
 9
10   FOR THE DEFENDANTS:                                                     13   Johnson & Johnson defendants. So my suggestion, your Honor,
11      ANDREW D. SCHAU, ESQ., Covington & Burling, LLP,                     14   would be that we have oral argument on these motions.
     The New York Times Building, 620 Eighth Avenue, New York,
                                                                             15          THE COURT: A lot of times you've thought you had a
12   New York, 10018-1405, for Johnson & Johnson.
13                                                                           16   great class rep, and it hasn't sort of played out. Have you
14                                                                           17   personally looked at these documents?
15
                                                                             18          MS. CONNOLLY: We have looked at the documents that
16
17                                                                           19   go -- I personally have not, but my co-counsel have looked at
18                                                                           20   the documents. The issue has been going back as far as we need
19
                                                                             21   to go in order to satisfy Johnson & Johnson that she has got
20
21                                                                           22   coverage throughout the class period, and that has been a
22                                                                           23   little more difficult. We needed to subpoena United Healthcare
23
                                                                             24   to get those records, so that has been the delay.
24
25                                                                           25          THE COURT: I don't understand what you just said.


                                                                    Page 3                                                                       Page 5
1                   PROCEEDINGS                                              1    What do you mean? Why does she have to have coverage
2           THE CLERK: In Re: Pharmaceutical Industry Average                2    throughout the class period? Have I ruled that? I don't
3    Wholesale Price Litigation, Civil Action 01-12257, will now be          3    think --
4    heard before this Court. Will counsel please identify                   4           MS. CONNOLLY: Not through the entire class period.
5    themselves for the record.                                              5    We have documents from 2003, 2004, 2005. We've always wanted
6           MS. CONNOLLY: Good morning again, your Honor.                    6    to have --
7    Jennifer Connolly from Hagens Berman Sobol Shapiro on behalf of         7           THE COURT: Oh, so the issue is whether it predates
8    the class plaintiffs.                                                   8    the key period of time?
9           MR. WEXLER: Ken Wexler, your Honor, from Wexler                  9           MS. CONNOLLY: Yes, yes. We have information that
10   Wallace for the class plaintiffs.                                       10   she's been taking the drug that long, but we don't have the
11          MR. NOTARGIACOMO: Ed Notargiacomo, your Honor, for               11   claims data yet because we're waiting for her insurer for that.
12   the class plaintiffs.                                                   12          THE COURT: So that she's in my what we've been
13          MR. SCHAU: Andrew Schau, your Honor, from Covington & 13              calling the period of time where it's the heartland period.
14   Burling for Johnson & Johnson. And let me just add as a                 14          MS. CONNOLLY: That's correct.
15   footnote, that's the first time I've ever said that in open             15          THE COURT: Before the effective date of the passage
16   court. I changed law firms a couple of weeks ago.                       16   of the Medicare Modernization Act.
17          THE COURT: I forget, which firm were you with?                   17          MS. CONNOLLY: That's right.
18          MR. SCHAU: I was at Patterson Belknap, your Honor.               18          THE COURT: And so that's what you don't have yet?
19          THE COURT: Congratulations on your career switch.                19          MS. CONNOLLY: That's right.
20          So there's been some confusion in my office, and I               20          THE COURT: And you have her say-so?
21   guess with me -- the buck stops here -- as to what exactly              21          MS. CONNOLLY: Yes.
22   we're doing with Johnson & Johnson because Johnson & Johnson            22          THE COURT: So what might be the problem then that
23   had requested that we defer this until the class rep issue had          23   would hold this up?
24   been satisfied. So maybe you give me a sense of the class rep,          24          MR. SCHAU: Your Honor, I can't answer your question
25   what possible issues might come up, and whether it's worth              25   about what information she has. In my conversations with


                                                                                                                                      2 (Pages 2 to 5)
